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        EXHIBIT A
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COSTELLO & MAINS, LLC
By: Drake P. Bearden, Jr., Esquire
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Mount Laurel, NJ 08054
(856) 727-9700
Attorneys for Plaintiff

                                                 :    SUPERIOR COURT OF NEW JERSEY
ROBERT HARPER,                                   :    MERCER COUNTY - LAW DIVISION
                                                 :
                       Plaintiff,                :    CIVIL ACTION
                                                 :
vs.                                              :
                                                 :    DOCKET NO:
AMAZON.COM SERVICES, INC. and                    :
JOHN DOES 1-5 AND 6-10.                          :
                                                 :
                       Defendants.               :    COMPLAINT AND JURY DEMAND


        Plaintiff, Robert Harper, residing in the State of New Jersey, on behalf of himself and all

other similarly situated Plaintiffs in the State of New Jersey:

                                      Preliminary Statement

        This matter is opened to the court pursuant to the New Jersey Wage Payment Law

(“WPL”) and its prohibition against wage theft, and for failure to pay minimum wage, and

failure to pay overtime. Plaintiff further brings this claim based on the common law causes of

action in the State of New Jersey for breach of contract and conversion.

                                       Identification of Parties

        1.     Plaintiff Robert Harper is, at all relevant times herein, a resident of the State of

New Jersey and former employee of Defendant as an Amazon Flex Driver.

        2.     Defendant Amazon.com Services, Inc. (“Amazon”) was, at all relevant times

herein, a corporation operating in the State of New Jersey with its service of process address at




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Princeton South Corporate Center, Suite 160, 100 Charles Ewing Boulevard, Ewing, New Jersey

08628.

         3.     Defendants John Does 1-5 and 6-10, currently unidentified, are individuals and/or

entities who, on the basis of their direct acts or on the basis of respondeat superior, are

answerable to the Plaintiff for the acts set forth herein.

                                        Class Action Averments

         4.     Plaintiff brings this case on behalf of himself and all others similarly situated.

         5.     Plaintiff and similarly situated employees employed on or after the date three

years immediately preceding the filing date of this Complaint as Amazon Flex Drivers have been

willfully misclassified as “contractors” instead of as employees and denied minimum wage,

denied overtime for hours worked in excess of 40 per week, have had tips unlawfully withheld

and have been denied payment of agreed upon wages due for all hours worked.

         6.     The number of Amazon Flex drivers working for Defendant Amazon.com

Services, Inc. (herein after referred to “Amazon”) during the years relevant to this claim is

unknown, but it is averred that this number is so numerous that joinder of all members of the

putative class would be impracticable.

         7.     There are questions of law or fact common to the class, inasmuch as the

mechanism of injury is identical for all Plaintiffs in that they are all Amazon Flex drivers in the

State of New Jersey, and the mechanism of harm is identical for all in that they have been

deprived of fair compensation for the work that they have performed.

         8.     The claims of Plaintiff are identical, in fact and in law, to the claims of the class.

         9.     The defenses to the claims of the Plaintiffs are identical to the defenses to claims

of the class. The representative Plaintiff will fairly protect the interests of the class.




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       10.     The prosecution of separate actions by individual Plaintiffs would bear a risk of

inconsistent or varying results with respect to individual members of the class that might

therefore establish incompatible standards of conduct for the Defendants opposing the class.

       11.     As well, the prosecution of separate actions by individual members of the class

would pose a risk of adjudications with respect to the individual claims that would, as a practical

matter, be dispositive of the interests of the other members not parties to the adjudication and

would substantially impair or impede the ability to protect such interest.

       12.     It is averred that Amazon has acted and/or refused to act on grounds generally

applicable to all potential class members, therefore making appropriate injunctive relief or a

corresponding declaratory relief with respect to the class as a whole desirable.

       13.     Questions of law and fact common to the members of the class predominate over

any questions which affect individual members.

       14.     A class action is a superior vehicle to other available methods for the fair and

efficient adjudication of this controversy.

       15.     The interests of the members of the potential class and individually controlling the

prosecution or defense of the separate actions is or should be secondary to the interests of

adjudicating the broader social issue represented by the alleged illegal conduct.

       16.     Upon information and belief, there is no other identical litigation regarding these

specific issues against the Defendant in this matter or on behalf of any potential class members in

the State of the New Jersey.

       17.     It is desirable to concentrate the litigation of these claims in one forum, at one

time, since specific illegal conduct is alleged to all members of the class, and since once standard

of conduct should emerge therefrom.




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       18.     It will not be difficult to manage this action, since it is not anticipated that there

will any unique individual issues affecting claims or class members that would predominate over

the allegations above.

                                        General Allegations

       19.     Plaintiff worked as an Amazon Flex driver from April 26, 2019 through August

13, 2019.

       20.     During the time Plaintiff worked as an Amazon driver, Plaintiff signed a contract

that stated Plaintiff would receive a minimum of $18.00 per hour, and would receive 100% of

customer tips Plaintiff received.

       21.     Amazon provides delivery service of consumer electronic goods to its customers

on a nationwide basis, including in the State of New Jersey.

       22.     Amazon contracts directly with Amazon Flex drivers in the State of New Jersey

to conduct these deliveries.

       23.     Although classified as independent contractors, Amazon Flex Drivers are actually

employees within the meaning of the New Jersey Wage Payment Law and New Jersey Wage and

Hour Law.

       24.     Amazon Flex Drivers receive unpaid training regarding how to interact with

customers and how to handle issues they encounter while making deliveries.

       25.     Amazon Flex Drivers must follow Amazon’s instructions regarding where to

make deliveries, orders, and which route to take.

       26.     Amazon Flex Drivers can be penalized or terminated for missing scheduled shifts.

       27.     Amazon Flex Drivers also must follow requirements and rules imposed on them

by Amazon and are subject termination, based on Amazon’s discretion.




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       28.     Amazon Flex Drivers can be disciplined or terminated for their failure to adhere

to Amazon’s requirements including, but not limited to, rules regarding their conduct with

customers, their timeliness in making deliveries, their scanning of packages, and their conduct

when picking up or returning packages to the warehouse.

       29.     Amazon Flex Drivers provide their own vehicle, but are required to place an

Amazon sign on the vehicle.

       30.     Amazon Flex Drivers’ services are fully integrated with Amazons businesses.

       31.     Amazon Flex Drivers are told they will be paid by the hour; however, the

Amazon Flex Drivers are actually paid by the “block”.

       32.     Amazon Flex Drivers are given a predetermined amount of packages, determined

by Amazon, and those packages are supposed to be delivered within a two hour block of time.

       33.     Whether the drivers deliver the packages before the two hour block of time, or

after the two hour block, the drivers are paid the same amount of money.

       34.     During the time Plaintiff worked for Amazon, Plaintiff would arrive at the

warehouse to pick up his packages and the packages would not be ready.

       35.     On other occasions, Plaintiff would arrive at the warehouse to pick up his

packages and there would be a malfunction with scanning and electronic equipment, and Plaintiff

would have to wait for his packages.

       36.     On other occasions, Plaintiff would arrive at Amazon to pick up his packages, and

Amazon employees would not be able to open the doors or access his packages because certain

employees arrived late.

       37.     These acts, along with other incidences that were not the fault of the Plaintiff,

often caused Plaintiff to have to begin his “block” late.




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        38.     Plaintiff would then take longer than the two hour block of time to deliver the

packages.

        39.     When Plaintiff would take longer than the two hour block of time to deliver the

package, Plaintiff would submit a request to Amazon for additional compensation as a result of

the additional work that he did.

        40.     However, on numerous occasions, Amazon either failed to compensate Plaintiff

the amount that he was due, or failed to compensate Plaintiff at all for the additional hours he

worked.

        41.     Plaintiff was also told by customers on multiple occasions that they tipped

Plaintiff electronically.

        42.     However, Plaintiff was not given the tips by Amazon.

        43.     Upon information and belief, similarly situated employees were also denied tips.

        44.     Upon information and belief, similarly situated employees did not receive

compensation for all hours worked.

        45.     Plaintiff complained to Amazon about all of the problems listed in this complaint.

        46.     Plaintiff and other Amazon Flex Drivers were also not compensated for necessary

business expenses that they must pay such as gas and car maintenance.

        47.     Defendant terminated Plaintiff as a result of his complaints about Defendant’s

failure to properly compensate Plaintiff.

        48.     As a result of the allegations set forth above, Plaintiff and the similar situated

class members have been made to suffer economic and non-economic harm.




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                                              COUNT I

           Violation of the Wage Payment Law for Failure to Pay Minimum Wage

       49.      Plaintiff hereby repeats and realleges paragraphs 1 through 48, as though fully set

forth herein.

       50.      In failing to pay Plaintiff and similarly situated employees for the full amount of

hours worked and failing to ensure that Plaintiff and other Amazon Flex Drivers who have

worked in the State of New Jersey were paid in compliance with the New Jersey State minimum

wage, after accounting for expenses they paid that were necessary to perform their job,

Defendant failed to pay Plaintiff and similarly situated class members the minimum wage in

violation of New Jersey’s WPL.

       WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, demands

judgment against the Defendants jointly, severally and in the alternative, together with due and

unpaid minimum wage, liquidated damages, punitive damages, interest, cost of suit, attorneys’

fees, enhanced attorneys’ fees, interest and any other relief the Court deems equitable and just.

                                            COUNT II

                   Failure to Pay Overtime Under the Wage and Hour Law

       51.      Plaintiff hereby repeats and realleges paragraphs 1 through 50, as though fully set

forth herein.

       52.      Defendant has failed to pay Plaintiff and all others similarly situated time and one

half their regular hourly rate for hours worked in excess of forty per week, in violation of the

New Jersey Wage and Hour Law.

        WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, demands

judgment against the Defendants jointly, severally and in the alternative, together with due and




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unpaid overtime, liquidated damages, punitive damages, interest, cost of suit, attorneys’ fees,

enhanced attorneys’ fees, interest and any other relief the Court deems equitable and just.

                                            COUNT III

                                  Wage Theft Under the WPL

       53.      Plaintiff hereby repeats and realleges paragraphs 1 through 52, as though fully set

forth herein.

       54.      For the reasons set forth above, Defendant has violated the New Jersey Wage

Payment Law in failing to pay Plaintiff and all others similarly situated the agreed upon wage

and withholding tips paid by customers.

       WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, demands

judgment against the Defendants jointly, severally and in the alternative, together with applicable

compensatory damages, economic damages including unpaid wages and unpaid tips, liquidated

damages, punitive damages, cost of suit, attorneys’ fees, enhanced attorneys’ fees, interest and

any other relief the Court deems equitable and just.

                                            COUNT IV
                                         Civil Conversion

       55.      Plaintiff hereby repeats and realleges paragraphs 1 through 54, as though fully set

forth herein.

       56.      For the reasons set forth above, the Defendant has violated New Jersey’s common

law civil conversion law by exercising dominion over the property of Plaintiff and all others

similarly situated, including but not limited to, wages and tips.

       WHEREFORE, Plaintiff demands judgment against the Defendants jointly, severally and

in the alternative, together with applicable compensatory damages, economic damages punitive




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 damages, interest, exemplary damages, cost of suit, attorneys’ fees, enhanced attorneys’ fees,

 interest and any other relief the Court deems equitable and just.

                                               COSTELLO & MAINS, LLC



                                               By: /s/ Drake P. Bearden, Jr._______________
 Dated: November 13, 2019                              Drake P. Bearden, Jr.




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                             DEMAND TO PRESERVE EVIDENCE

         1.     All Defendants are hereby directed and demanded to preserve all physical and

 electronic information pertaining in any way to Plaintiff’s employment, to Plaintiff’s cause of

 action and/or prayers for relief, to any defenses to same, and pertaining to any party, including,

 but not limited to, electronic data storage, closed circuit TV footages, digital images, computer

 images, cache memory, searchable data, emails, spread sheets, employment files, memos, text

 messages and any and all online social or work related websites, entries on social networking

 sites (including, but not limited to, Facebook, twitter, MySpace, etc.), and any other information

 and/or data and/or things and/or documents which may be relevant to any claim or defense in this

 litigation.

         2.     Failure to do so will result in separate claims for spoliation of evidence and/or for

 appropriate adverse inferences.

                                               COSTELLO & MAINS, LLC


                                               By: /s/ Drake P. Bearden, Jr._______________
                                                       Drake P. Bearden, Jr.

                                         JURY DEMAND

         Plaintiff hereby demands a trial by jury.

                                               COSTELLO & MAINS, LLC



                                               By: /s/ Drake P. Bearden, Jr._______________
                                                       Drake P. Bearden, Jr.




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                                 RULE 4:5-1 CERTIFICATION

        1.      I am licensed to practice law in New Jersey and am responsible for the captioned

                matter.

        2.      I am aware of no other matter currently filed or pending in any court in any

                jurisdiction which may affect the parties or matters described herein.

                                              COSTELLO & MAINS, LLC



                                              By: /s/ Drake P. Bearden, Jr._______________
                                                      Drake P. Bearden, Jr.


                             DESIGNATION OF TRIAL COUNSEL

        Drake P. Bearden, Jr., Esquire, of the law firm of Costello & Mains, LLC, is hereby-

 designated trial counsel.

                                              COSTELLO & MAINS, LLC



                                              By: /s/ Drake P. Bearden, Jr._______________
                                                      Drake P. Bearden, Jr.




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                        Civil Case Information Statement
 Case Details: MERCER | Civil Part Docket# L-002174-19

Case Caption: HARPER ROBERT VS AMAZON.COM                        Case Type: EMPLOYMENT (OTHER THAN CEPA OR LAD)
SERVICES, INC.                                                   Document Type: Complaint with Jury Demand
Case Initiation Date: 11/13/2019                                 Jury Demand: YES - 6 JURORS
Attorney Name: DRAKE P BEARDEN JR                                Is this a professional malpractice case? NO
Firm Name: COSTELLO & MAINS, LLC                                 Related cases pending: NO
Address: 18000 HORIZON WAY STE 800                               If yes, list docket numbers:
MT LAUREL NJ 080544319                                           Do you anticipate adding any parties (arising out of same
Phone: 8567279700                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : HARPER, ROBERT
Name of Defendant’s Primary Insurance Company
(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? YES
 If yes, is that relationship: Employer/Employee
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO                    Title 59? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 11/13/2019                                                                                     /s/ DRAKE P BEARDEN JR
 Dated                                                                                                           Signed
